                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                )   Chapter 11
                                                      )
TWC Liquidation Trust, LLC,1                          )   Case No. 18-10601 (MFW)
                                                      )
                  Debtor.                             )
                                                      )
                                                      )

                                      CERTIFICATE OF SERVICE

                   I, Colin R. Robinson, hereby certify that on the 16th day of June, 2021, I caused a

 copy of the following to be served on the parties on the attached service list in the manner

 indicated.

                   NOTICE OF LIQUIDATION TRUSTEE’S OBJECTION TO THE CLAIM
                   OF WANDA PICTURES (HONG KONG) CO., LTD.; AND

                   LIQUIDATION TRUSTEE’S OBJECTION TO THE CLAIM OF WANDA
                   PICTURES (HONG KONG) CO., LTD.


     Dated: June 16, 2022                            PACHULSKI STANG ZIEHL & JONES LLP

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                                                     Trust




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Doc #239529.1
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